CaSe: 2209-Cr-00054-.]LG-TPK DOC #Z 150 Filed: 05/02/16 Page: l Of 2 PAGE|D #Z 596

IN TI-IE UNITED STATES DISTRIC`I` COUR'I`
FOR THE SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

RE: Reassignment of"Cases From the Docket of
Districl Judge Gregory L. Frosl

ORDER

The attached cases previously assigned to the I-Ionorable Gregory L. Frosl arc hereby
reassigned to the docket of the I-Ionorable J ames L. Graham.

IT IS SO ORDERED.

… w~,u‘i~.»o)l.

I'Ionorable Edri'!}und A. Sargus, .lr.
Chief Judge United States District Court

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2:09-cr-00016-GLF U§A v. McCoy
2:09-cr-00054-GLF-TPK U§A v. Walls et al
2:09-cr-00187-GLF USA v. Dieng
2:16-cr-00012-GLF-TPK U SA v. Whitson

 

 

